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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


    UNITED STATES OF AMERICA

       v.                                                              Case No.
                                                                   21-cr-725 (MAU)
    JARED SAMUEL KASTNER,

                        Defendant.


                                              ORDER
        Before the Court is Defendant Jared Kastner’s (“Kastner”) Motion to Modify Conditions

on Second Amendment Grounds. ECF No. 88. Kastner moves this Court to amend his pretrial

release condition prohibiting firearm possession, arguing that a change in law renders the condition

unconstitutional. See id. The government opposes Kastner’s motion, arguing that Kastner has

failed to present any intervening change in law, clear error, or new evidence to justify

reconsideration of his conditions of release. See ECF No. 95. In the alternative, the government

argues that Kastner’s pretrial conditions of release are constitutional. Id. For the following

reasons, the Court DENIES Kastner’s motion.

        This is Kastner’s fourth attempt to amend his pretrial conditions of release related to the

firearm restriction.1 The Court will not repeat all the facts set forth in the previous orders denying

Kastner this relief except to summarize as follows. See ECF No. 35; ECF No. 42. On December

13, 2021, Kastner appeared for his first appearance in this District before a Magistrate Judge.


1
        Kastner is charged with: knowingly entering or remaining in a restricted building or
grounds without lawful authority, in violation of 18 U.S.C. § 1752(a)(1); disorderly and disruptive
conduct in a restricted building or grounds, in violation of 18 U.S.C. § 1752(a)(2); disorderly
conduct in a Capitol building or grounds, in violation of 40 U.S.C. § 5104(e)(2)(D); and parading,
demonstrating, or picketing in a Capitol building, in violation of 40 U.S.C. § 5104(e)(2)(G).
Before the Parties consented to proceed before this Court for all purposes on December 21, 2022,
a District Judge was presiding over Kastner’s case. See ECF No. 71, 73.
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Kastner requested a modification to the Court’s standard conditions of release which restrict

firearm possession, citing the fact that he was an armed security guard at his church. The Court

granted Kastner’s request and modified his conditions to allow him to possess a firearm while he

was on the job during church services three times per week. ECF No. 11 at 3 (“Outside of that

limited exception, Defendant is prohibited from possessing firearms at any other time outside of

the services mentioned.”).

       On January 21, 2022, Kastner filed a motion to modify his conditions of release, arguing

that the firearms restriction was unreasonable. ECF No. 20. The Court heard argument on the

motion on February 18, 2022, including testimony from a D.C. Pretrial Services officer who

opposed Kastner’s requested modification. On February 28, 2022, the Court issued a written order

denying Kastner’s motion and upholding the partial restriction on firearm possession under the

Bail Reform Act, 18 U.S.C. § 3142(c)(1)(B). See ECF No. 35. The Court found the condition to

be “reasonably tailored” and “appropriate” given Kastner’s individual circumstances. ECF No.

35. On April 13, 2022, Kastner filed a motion for reconsideration, citing other cases in this District

where the Court removed firearms restrictions for similarly-situated defendants. ECF No. 37. On

May 13, 2022, the Court issued a second written order denying Kastner’s motion for

reconsideration and finding that Kastner failed to offer any “new facts or argument.” ECF No. 42

at 8. The Court reiterated that the restriction was reasonably tailored to Kastner’s individual

circumstances. Id. at 9-10.

       Significantly, on August 22, 2022, the D.C. Pretrial Services Agency filed a Pretrial

Violation Report recommending Kastner’s removal from supervision after a Pretrial Services




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Officer in the Southern District of Indiana2 discovered a firearm in his residence during a home

visit. ECF No. 45. On September 6, 2022, the Court held a pretrial violation hearing and found

by clear and convincing evidence that Kastner violated his pretrial conditions of release by keeping

a firearm in his residence. ECF No. 57. Because of the violation, the Court sanctioned Kastner to

home confinement for thirty days and removed all access to firearms for Kastner and his wife.

ECF No. 57. Kastner has not violated his conditions of release since the Court amended its prior

order. He filed this Motion after the Parties consented to proceed for all purposes before the

undersigned magistrate judge. See ECF No. 69, 73. Given that Kastner has moved multiple times

to amend his conditions of release, the Court construes this Motion as yet another motion to

reconsider. See ECF No. 95 at 1 n.1.

       Although the Federal Rules of Criminal Procedure do not specifically provide for motions

for reconsideration, the Supreme Court has “recognized . . . the utility of such motions” for courts

to “promptly . . . correct their own alleged errors.” United States v. Ferguson, 574 F. Supp. 2d

111, 113 (D.D.C. 2008) (quoting United States v. Dieter, 429 U.S. 6, 8 (1976) (per curiam)); see

also In re Liuksila, 131 F. Supp. 3d 249, 255 (D.D.C. 2016) (“This Court has adopted such a

philosophy by regularly entertaining motions for reconsideration in a criminal context, applying

the analogous Federal Rules of Civil Procedure.”). Courts in this District have looked to Federal

Rule of Civil Procedure 54(b) to provide the applicable standard of review and have entertained

motions for reconsideration “‘as justice requires.’” Hoffman v. District of Columbia, 681 F. Supp.

2d 86, 90 (D.D.C. 2010) (quoting Childers v. Slater, 197 F.R.D. 185, 190 (D.D.C. 2000)). Courts

have construed this to mean that the moving party must show either that: “(1) there has been an




2
        In June 2022, Kastner moved to Indiana. The Pretrial Services Agency of the Southern
District of Indiana has been providing courtesy supervision to Kastner. See ECF No. 45.
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intervening change in controlling law, (2) there is new evidence, or (3) there is a need to correct

clear error or prevent manifest injustice.” United States v. Ferguson, 574 F. Supp. 2d 111, 113

(D.D.C. 2008); see also United States v. Coughlin, 821 F. Supp. 2d 8, 18 (D.D.C. 2011) (setting

forth and following the same standard); United States v. Libby, 429 F. Supp. 2d 46, 47 (D.D.C.

2006) (same).

       First and foremost, Kastner presents no new evidence or a change in factual circumstances

to warrant reconsideration of the Court’s previous decisions setting conditions of release.

Kastner’s motion largely raises the same arguments that the Court has previously addressed in

detail. See ECF No. 88; ECF No. 96.

       Second, as to change in law, Kastner argues that two recent federal decisions, New York

State Rifle & Pistol Ass’n, Inc. v. Bruen, 142 S. Ct. 2111 (2022), and United States v. Quiroz, No.

22-CR-00104, 2022 WL 4352482 (W.D. Tex. Sept. 19, 2022), reflect an intervening change in law

that warrants modification of the firearm-related condition. ECF No. 88 at 1-2. Kastner “asserts

that the framework constitutional law and legal principles governing the instant question of a

condition on Defendant’s release on bail awaiting trial have shifted underneath the current status

and order.” ECF No. 96 at 3. As such, he “requests an order striking all conditions of his pre-trial

release which limit or interfere with his 2nd Amendment rights of his wife, family, and household.”

ECF No. 88 at 2.       The government responds that Kastner has raised no new issue on

reconsideration warranting modification of the firearm-related condition. ECF No. 95 at 11.

Therefore, in the government’s view, this Court is precluded from revisiting Kastner’s pretrial

conditions of release. Id. The government further argues that, even assuming no such procedural

bar exists, the Court should deny the motion because the firearm restriction is permissible under

the Bail Reform Act and the Second Amendment. Id. at 17-18.



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       Neither Bruen nor Quiroz warrant modification of Kastner’s conditions. In Bruen, the

Supreme Court addressed New York’s “proper cause” licensing statute, which required an

applicant seeking to purchase a firearm to make a showing that he or she is of good moral character,

has no history of crime or mental illness, and that no good cause exists for the denial of the license.

142 S. Ct. at 2123. The Court struck down the New York statute, concluding that it violated the

Second and Fourteenth Amendments and prevented “law-abiding citizens with ordinary self-

defense needs from exercising their right to keep and bear arms.” Id. at 2156. The Court did not,

however, address the constitutionality of restricting a person’s right to possess a firearm after being

charged with a federal crime as a condition of pretrial release. Significantly, the Supreme Court

neither addressed nor disturbed the Bail Reform Act, which expressly authorizes a court in certain

circumstances to, among other things, restrict a defendant’s possession of a firearm. 18 U.S.C. §

3142(c)(B)(viii). Nor did the Supreme Court disturb the well-settled law that “the Government’s

regulatory interest in community safety can, in appropriate circumstances, outweigh an

individual’s liberty interest.” United States v. Salerno, 481 U.S. 739, 748 (1987); see also

Rodriguez de Quijas v. Shearson/Am. Exp., Inc., 490 U.S. 477, 484 (1989) (“If a precedent of [the

Supreme] Court has direct application in a case, yet appears to rest on reasons rejected in some

other line of decisions, [lower courts] should follow the case which directly controls, leaving to

[the Supreme] Court the prerogative of overruling its own decisions.”).3 And Bruen certainly did

not curtail the Court’s ability to restrict firearm possession as a condition of release to a defendant

who had already violated that very condition by clear and convincing evidence.



3
        Imposing conditions under the Bail Reform Act often implicates an individual’s
constitutional rights. See United States v. Wendt, No. 4:22-cr-00199, 2023 WL 166461, at *4 (S.D.
Iowa Jan. 11, 2023) (“Like the loss of liberty that occurs when a defendant is detained, the
imposition of conditions of release will often impact constitutional rights. Any restriction on
personal associations, for example, is an unmistakable limitation on First Amendment rights.”).
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       Quiroz is also inapposite. In that case, the United States District Court for the Western

District of Texas applied Bruen to strike down 18 U.S.C. Section 922(n), which criminalizes

receipt of a firearm by persons under felony indictment. 2022 WL 4352482, at *13. Importantly,

the court expressly declined to address whether Bruen applied to invalidate as unconstitutional the

restriction of firearms as a condition of pretrial release. Id. at *11 (“And even if restricting a

defendant’s right to possess a firearm as a condition of pretrial release is constitutional—an issue

which this Court does not consider here—that doesn’t also make § 922(n)’s restrictions in the

indictment stage constitutional.”) (emphasis added). The Quiroz court went so far as to distinguish

those pretrial proceedings from the posture at issue in a case challenging Section 922(n). Id. at

*11 (contrasting detention hearings and pretrial release conditions from Section 922(n), stating

“detention hearings have substantial procedural safeguards” and “occur at a different stage in the

proceeding—often after indictment.”). Not only is this case non-binding in this Circuit, but it is

also plainly inapplicable. As it stands, neither Bruen nor Quiroz invalidate the authority of this

Court to impose pretrial conditions of release restricting use or possession of firearms.4 The Bail

Reform Act still controls the analysis.

       As a final note, the Court does not disagree with Kastner that, as a general proposition, the

Second Amendment is not a “second class right.” ECF No. 88 at 7. In this case with its specific




4
         Even if this Court were to apply Bruen to the constitutionality of pretrial restrictions on the
possession of firearms, this Court would uphold its authority to impose such restrictions under the
Bail Reform Act as there is a “longstanding historical tradition of analogous regulations to the
pretrial restriction on possessing firearms.” Wendt, 2023 WL 166461, at *5; see also United States
v. Fencl, No. 21-CR-3101, 2022 WL 17486363, at *4 (S.D. Cal. Dec. 7, 2022) (“This Court finds
that when properly interpreted, the Second Amendment permits the restriction of firearm
possession by individuals under supervision as a result of pending criminal charges.”); United
States v. Perez-Garcia, No. 3:22-CR-01581, 2022 WL 4351967, at *7 (S.D. Cal. Sept. 18, 2022)
(holding the same); United States v. Slye, No. 1:22-mj-144, 2022 WL 9728732, at *3 (W.D. Pa.
Oct. 6, 2022) (same).
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factual posture and history, however, Kastner’s argument misses the point.              Congress has

specifically granted courts authority to curtail those rights in certain circumstances by virtue of the

Bail Reform Act. As set forth in the extensive record, including the two written District Court

opinions on Kastner’s motions to modify this condition, there are specific reasons warranting the

restriction, not least of which is the fact that Kastner was found to have been in violation of the

very condition he seeks to remove. Because Kastner has failed to raise a change in factual

circumstances, an intervening change in law, or a reason to correct a manifest injustice, his Motion

fails. The Court DENIES his motion to reconsider.


Date: March 16, 2023
                                                               ______________________________
                                                               MOXILA A. UPADHYAYA
                                                               United States Magistrate Judge




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